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                                                                                      United States District Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                       IN THE UNITED STATES DISTRICT COURT                                  August 05, 2019
                       FOR THE SOUTHERN DISTRICT OF TEXAS                                  David J. Bradley, Clerk
                                HOUSTON DIVISION

MARANDA LYNN ODONNELL, et al.,                    §
on behalf of themselves and all others            §
similarly situated,                               §
                                                  §
                       Plaintiffs,                §
                                                  §
VS.                                               §              CIVIL ACTION NO. H-16-1414
                                                  §
HARRIS COUNTY, TEXAS, et al.,                     §
                                                  §
                       Defendants.                §

                                              ORDER

       By August 14, 2019, the parties must submit a written report on any of the following

aspects that apply to the fairness hearing set for August 21, 2019:

       •   a list of any exhibits, and copies of the exhibits;

       •   a list of any witnesses who may testify, and the subjects of their testimony;

       •   a list of counsel who will be arguing; and

       •   an estimate of the time the hearing will take.

       The court appreciates the work that produced the consent decree and settlement agreement.

               SIGNED on August 5, 2019, at Houston, Texas.



                                                   _______________________________________
                                                                 Lee H. Rosenthal
                                                         Chief United States District Judge
